                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 1 of 34




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

JON1 UTAUS-BB DOE,                            §
JON2 UTAUS-SK DOE,                            §
JON3 UTAUS-KS DOE, and                        §
JON4 UTAUS-SA DOE                             §
Individually and On Behalf of All             §
Other Similarly Situated Plaintiffs           §
      Plaintiffs,                             §
v.                                            §       C.A. No. ___________
                                              §
THE UNIVERSITY OF TEXAS                       §
AT AUSTIN                                     §
    Defendant.                                §

                            PLAINTIFFS’ ORIGINAL COMPLAINT

         COME NOW, Plaintiffs JON1 UTAUS-BB DOE, JON2 UTAUS-SK DOE,

JON3 UTAUS-KS DOE, and JON4 UTAUS-SA DOE to file this “Plaintiffs;

Original Complaint” on behalf of themselves and all others similarly situated, being

the “Class Members” as follows:

                                       PREAMBLE

      This is a suit for damages and a request for equitable relief resulting from
the intentional violation of federal and state protected rights of Plaintiffs Jon by
Defendant The University of Texas at Austin (including rights protected by Title
IX, the U.S. Constitution, Section 1983, and the Texas Constitution) resulting in
serious, ongoing economic and emotional harm to Plaintiffs.


PLAINTIFFS’ ORIGINAL COMPLAINT                                                    1
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 2 of 34




      While four plaintiffs are currently named in this lawsuit, the identification
of additional students will be added as class action plaintiffs.

SUMMARY OF CONTENTS:

    A. NATURE OF SUIT
    B. PARTIES
    C. JURISDICTION and VENUE
    D. FACTUAL ALLEGATIONS
         1. Who are Plaintiffs Jon?
         2. UTAustin’s Draconian Disciplinary Dragnet.
         3. Purported Public Interest being protected by UTAustin’s Draconian
            Disciplinary Dragnet.
         4. Plaintiffs Jon each become a Targeted Student and is Sanctioned.
         5. UTAustin’s Draconian Disciplinary Dragnet illegally violated
            Plaintiffs Jon’s rights.
         6. Plaintiffs Jon have been seriously harmed by UTAustin’s
            Discriminatory Actions.
         7. Defendant UTAustin’s Action Under the Color of State Law.
         8. Administrative Remedies.
         9. Collective Action Allegations
    E. CAUSES OF ACTION
    F. CONCLUSION

                                 A.    NATURE OF SUIT

         1.        Plaintiffs Jon (defined hereafter) are male, undergraduate student

attending Defendant UTAustin (defined hereafter).

         2.        In the Fall of 2018, Plaintiffs Jon were targeted by Defendant

UTAustin’s Draconian Disciplinary Dragnet (defined hereafter). By being targeted,

Plaintiffs Jon’s substantive and procedural due process rights, and, equal protection

rights were trampled upon; and sanctions were issued which have harmed, and will
                                                                                   2
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 3 of 34




continue to harm Jon, emotionally and economically for perhaps the rest of their

lives.

         3.        Plaintiffs Jon now file this original action for damages and equitable

relief pursuant to:

                   (a)   Title IX of the Education Amendments of 1972), 20
                         U.S.C. § 1681 et. seq.;

                   (b)   42 U.S.C. § 1983 with regards to:

                         (i)    Defendant’s violations of the laws of the United
                                States; and

                         (ii)   Defendant’s denial (under the color of law) of
                                Plaintiffs Jon’s equal violation, procedural due
                                process violations, and substantive due process
                                violations under the Fourteenth Amendment to the
                                U.S. Constitution; and

                   (e)   Defendant’s actions in violations of provisions of the
                         Texas Constitution.

                                          B.    PARTIES

         4.        Plaintiffs JON1 UTAUS-BB DOE, JON2 UTAUS-SK DOE, JON3

UTAUS-KS DOE, and JON4 UTAUS-SA DO (hereafter, collectively “Jon”) are

males residing in the State of Texas. Because of the privacy issues involved in this




PLAINTIFFS’ ORIGINAL COMPLAINT                                                         3
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 4 of 34




matter and the likelihood of retaliation by Defendant, Jon is hereby exercising their

rights to proceed with this matter anonymously.

         5.        The need to protect the identity of Jon shall not hinder the defense of

this matter, for the facts are well known to the Defendant. When applying the

balancing tests to determine the needed protection of the privacy of Plaintiffs Jon

vs. the small inconvenience to the Defendant, the protection of Plaintiffs’ privacy

rights prevails.

         6.        At such time as the Court might agree on procedures designed to

protect the privacy of Plaintiffs Jon and ensure an absence of retaliation, Jon’s

identity shall be disclosed.

         7.        Defendant   THE     UNIVERSITY          OF       TEXAS   AT   AUSTIN

(“UTAustin”) is a public university operating in the State of Texas and may be

served with citation by serving Defendant’s President as follows:

                                The University of Texas at Austin
                                    Attn: Gregory L. Fenves
                                    110 Inner Campus Drive
                                          Stop G3400
                                      Austin, Texas 78712

         8.        Although Defendant UTAustin is owned and operated by the State of

Texas, Defendant UTAustin does receive grants and other funding from the United

States.

                                                                                        4
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 5 of 34




                             C. JURISDICTION and VENUE

         9.        The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under:


                   (a)   Title IX of the Education Amendments of 1972), 20
                         U.S.C. § 1681 et. seq. (Title IX”); and

                   (b)   42 U.S.C. § 1983 (“Section 1983”).

         10.       Venue is proper in the Western District of Texas (Austin Division)

because Defendant UTAustin operates its university in Travis County, Texas which

is within the Western District of Texas.

                             D.    FACTUAL ALLEGATIONS

1.       Who are Plaintiffs Jon?

         11.       Plaintiffs Jon are male, students attending Defendant UT Austin,

seeking undergraduate degrees.

         12.       Plaintiffs Jon were raised by parents who emphasized hard work and

personal integrity, two attributes Jon carries with them daily.

         13.       Prior to selecting and enrolling into Defendant UTAustin, Plaintiffs

Jon applied such attributes (hard work and personal integrity) in everything Jon did.



PLAINTIFFS’ ORIGINAL COMPLAINT                                                          5
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 6 of 34




         14.       Not surprisingly, Plaintiffs Jon had a vast array of university options to

choose from before Jon selected Defendant UTAustin.

         15.       Out of all the possible 2400 four year and accredited colleges and

universities in the United States, Plaintiffs Jon selected Defendant UTAustin.

         16.       Plaintiffs Jon’s selection of Defendant UTAustin was based on Jon’s

belief that not only was Defendant UTAustin the best place for Jon to get the

education Jon passionately desired, but that Defendant UTAustin also exemplified a

university that cared about its students and provided a broad range of student

opportunities (academic and socially) that would allow Jon to grow and mature into

young men ready to pursue successful careers after Jon’s graduation.

         17.       After enrolling in Defendant UT Austin, Plaintiffs Jon joined a

fraternity (“Fraternity A”) as one of the student opportunities at Defendant

UTAustin Jon wished to participate in.

         18.       Fraternity A is just one of many fraternities and sororities available to

students attending Defendant UTAustin.

         19.       Defendant publically promotes the fraternities and sororities at

Defendant UTAustin, as shown by the following “Welcome” issued by Defendant

UTAustin (such as Plaintiffs Jon):


                                                                                           6
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 7 of 34




                   Welcome to Sorority and Fraternity Life (SFL) at UT Austin!
                   There are hundreds of opportunities on the Forty Acres. One
                   such opportunity is becoming involved in a sorority or
                   fraternity. SFL welcomes new members, supports aspiring
                   leaders, and advises council leaders in the community. Our
                   mission is to shape a values-based sorority and fraternity
                   experience. We cultivate educational and leadership
                   development, in collaboration with individuals and
                   organizations, to foster a culturally conscious, safe, and
                   responsible community contributing to a positive sisterhood,
                   brotherhood, and siblinghood.

(See, Defendant UTAustin Internet webpage, http://deanofstudents.utexas.edu/sfl/).

         20.       When accepting the Welcome offered by Defendant UTAustin and

joining Fraternity A, Plaintiffs Jon had no way of knowing that Jon had just become

each, a Targeted Student (defined hereafter).

2.       UTAustin’s Draconian Disciplinary Dragnet.

         21.       In advancement of the hereafter described Public Interest, Defendant

UTAustin has created various protocols applicable to all students attending

Defendant UTAustin with regards to allegations of cheating, plagiarism, collusion,

and student honesty and integrity matters (hereafter, collectively “Protocols”).

Although the Protocols are accessible on line as part of hundreds of publications

and handbooks, most students at Defendant UTAustin (including Plaintiffs Jon)

have no actual knowledge of the Protocols.

PLAINTIFFS’ ORIGINAL COMPLAINT                                                       7
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 8 of 34




         22.       Rather than creating steps to ensure that the students at Defendant

UTAustin (including Plaintiffs Jon) are truly aware of the Protocols, Defendant

UTAustin believes it is sufficient to post thousands and thousands of pages on line,

assuming that the students are meticulously downloading, reading, and analyzing

the Protocols, rather than tending to such student’s classes.

         23.       Under the Protocols, a student attending Defendant UTAustin can

become a “Targeted Student” for alleged violations of the Protocols by many

different persons and means, including but not being limited to the following:

                   (a)   an employee of Defendant UTAustin;

                   (b)   a student guilty of violating the Protocols who is willing
                         to offer names of other students in exchange for a lessor
                         sanction, whether such students were involved or not;

                   (c)   an enemy of a student;

                   (d)   an ex-boyfriend or ex-girlfriend of a student; or

                   (e)   essentially anyone willing to spread a rumor about a
                         student.

(Hereafter, collectively defined as the “Targeting”).

         24.       Under the Protocols, once a student of Defendant UTAustin has

become a Targeted Student of an alleged violation of the Protocols, the Protocols



                                                                                      8
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 9 of 34




allow for implementation of various investigation, interrogation, and prosecution

steps.

         25.       The use of the term “investigation” hereafter is used with great

reluctance, as the actual steps pursued by Defendant UTAustin are shrouded in

mystery and fail to follow any meaningful investigation as the term is generally

used and considered. Further, the use of the term “interrogation” in this Complaint

is not intended to be considered mere rhetoric, for the actions undertaken by

Defendant UTAustin are established steps to interrogate the Targeted Student

without the student being advised of the potential Sanctions (defined hereafter) that

can be issued against the student, based solely on the student’s statements.

         26.       The investigation, interrogation, and prosecution steps utilized by

Defendant UTAustin after the Targeting of a student, include but are not limited to

the following:

                   (a)   an investigation and interrogation of the Targeted Student
                         by the accuser;

                   (b)   an initial, summary determination of guilt by the accuser;

                   (c)   an initial recommendation for a sanction by the accuser;

                   (d)   an investigation and interrogation of the Targeted Student
                         by the Student Conduct and Academic Integrity

PLAINTIFFS’ ORIGINAL COMPLAINT                                                        9
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 10 of 34




                         department within the Office of the Dean of Students
                         (“Dean of Students”);

                   (e)   a lack of written procedures to be followed during the
                         foregoing referenced investigations and interrogations;

                   (f)   a summary determination of guilt by the Dean of
                         Students (the exclusion of the term “innocence” in not
                         intended to be hyperbole, for upon information and
                         belief, very few of the Targeted Students are determined
                         to be innocent by the Dean of Students);

                   (g)   a summary issuance of sanctions by the Dean of Students;

                   (h)   in some cases (including Plaintiffs Jon), the denial of
                         appellate rights of the sanctions issued;

                   (i)   in other cases, a semi-de novo hearing before a
                         “Committee” of students, and university educators or
                         administrators, all of whom are selected by Defendant
                         UTAustin, is held to consider the allegations (hereafter
                         “Hearing”);

                   (j)   limited and confusing discovery steps before the Hearing;

                   (k)   limited and confusing procedures followed during the
                         Hearing;

                   (l)   although the Targeted Student is denied the right to legal
                         counsel throughout implementation of the Protocols,
                         Defendant UTAustin usually has two to three attorneys
                         present during the Hearing, to represent Defendant UT
                         Austin, as well as to participate and preside over the
                         prosecution of the Targeted Student during the Hearing;



                                                                                      10
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 11 of 34




                   (m)   limited and confusing burdens of proof required during
                         the Hearing, under the over used and rarely understood
                         umbrella of “a preponderance of the evidence;”

                   (n)   private, closed session discussions, without the Targeted
                         Student but with the legal counsel representing
                         Defendant UTAustin, to determine guilt and sanctions,
                         all of which occur before any record of the Hearing can
                         be transcribed and reviewed;

                   (o)   determination of guilt and issuance of sanctions by the
                         Hearing Committee;

                   (p)   the availability (in most cases) of a “paper” appeal to the
                         Office of the President of Defendant UTAustin; and

                   (q)   limited and confusing procedures to be followed during
                         the Appeal;

                   (r)   limited and confusing burdens of proof required during
                         the Appel, under the over used and rarely understood
                         umbrella of “a preponderance of the evidence;”

                   (s)   a unilateral and final determination of the proprietary of
                         the determination of guilt and sanctions by the Office of
                         the President of Defendant UTAustin; and

                   (t)   a glaring lack of confidentiality protections throughout
                         the foregoing.

(Hereafter, the Protocols, the Targeting, the foregoing investigations, interrogations,

Hearing, Appeal, lack of appeal, determinations of guilt, issuance of sanctions, and



PLAINTIFFS’ ORIGINAL COMPLAINT                                                         11
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 12 of 34




lack of confidentiality safeguards shall be collectively referred to as the “Draconian

Disciplinary Dragnet”).

         27.       Throughout the entirety of Defendant UT Austin’s Draconian

Disciplinary Dragnet, the Targeted Student is denied the right to legal counsel

(“Denial of Legal Counsel”).

         28.        If found guilty during the Draconian Disciplinary Dragnet, there are a

number of “Sanctions” that can be issued against the Targeted Student, including

but not being limited to:

                   (a)   placement of the Targeted Student on disciplinary
                         probation;

                   (b)   placement of the Targeted Student on academic probation;

                   (c)   the issuance of a zero for a particular exam or
                         assignment;

                   (d)   the issuance of an “F” for a particular exam or
                         assignment;

                   (e)   the issuance of a Zero for a particular class;

                   (f)   the issuance of an “F” for a particular class;

                   (g)   suspension from Defendant UTAustin;

                   (h)   expulsion from Defendant UTAustin;

                   (i)   mandated attendance at counseling or meditative sessions
                         directed by Defendant UTAustin;
                                                                                       12
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 13 of 34




                   (j)   the retention of all records of the Draconian Disciplinary
                         Dragnet within the Targeted Student’s student file for
                         seven years; and

                   (k)   a glaring lack of confidentiality protections as to the
                         issuance of the Sanctions.

         29.       Throughout the entirety of Defendant UT Austin’s consideration and

issuance of the Sanctions (such Sanctions hereby deemed to be a part of the

Draconian Disciplinary Dragnet), the Targeted Student is, again, subject to the

Denial of Legal Counsel.

         30.       In the words of Defendant UTAustin, the Draconian Disciplinary

Dragnet is (paraphrasing) “an educational process for the students, which does not

require the right to legal counsel or a higher level of due process” (hereafter, the

“Educational Process View”).

         31.       Defendant    UTAustin’s      Educational    Process     View       exists

notwithstanding that the Draconian Disciplinary Dragnet can directly cause serious

economic and emotional harm to a Targeted Student, including but not limited to

the following:

                   (a)   causing the Targeted Student to retake a class, thereby
                         incurring the economic damages of having to pay for the
                         same class twice;

PLAINTIFFS’ ORIGINAL COMPLAINT                                                           13
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 14 of 34




                   (b)   depending on how often Defendant UT Austin offers the
                         class to be retaken, the retake requirement can often
                         require an additional year of attendance at Defendant
                         UTAustin, which then mandates additional tuition, room,
                         and board expenses;

                   (c)   under the foregoing circumstances when an additional
                         year, or perhaps more, is required as a result of the
                         Sanctions, then the Targeted Student is denied the ability
                         to enter into the employment market or continue with
                         additional university studies as planned, causing
                         economic harm for the rest of the Targeted Student’s life;

                   (d)   under the foregoing circumstances when an additional
                         year, or perhaps more, is required as a result of the
                         Sanctions, then the Target Student is faced with
                         additional student loan repayments and interest;

                   (e)   a potential transfer of the Targeted Student to other
                         universities can be denied;

                   (f)   the Targeted Student’s reputation is harmed within the
                         professor and administrative community of Defendant
                         UTAustin and elsewhere;

                   (g)   the Targeted Student’s reputation is harmed within the
                         student community of Defendant UTAustin and
                         elsewhere;

                   (h)   the Targeted Student’s reputation is harmed within the
                         family of the Targeted Student;

                   (i)   because employers and other university applications now
                         often ask whether the Targeted Student was ever the
                         subject of a disciplinary matter while at Defendant
                         UTAustin, the required “yes” answer by the Targeted
                                                                                      14
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 15 of 34




                         Student eliminates employment and educational
                         opportunities with a lifetime economic impact;

                   (j)   the mandated counseling or meditative sessions (being
                         nothing more than forced counseling not under the care
                         of a medical professional) can interfere with the
                         emotional and mental well-being of the Targeted Student;

                   (k)   the Targeted Student often suffers serious negative
                         emotional, physical, and mental harm;

                   (l)   the Targeted Student’s emotional, physical, and mental
                         harm can continue throughout such Student’s life;

                   (m)   the Targeted Student’s emotional, physical, and mental
                         harm can cause scenarios of self-inflicted physical harm
                         to the Targeted Student that previously did not exist;

                   (n)   the Targeted Student’s emotional, physical, and mental
                         harm can create life and death risks to the Targeted
                         Student that previously did not exist; and

                   (o)   the treatment of the foregoing described emotional,
                         physical, and mental harm creates health care and
                         medical expenses.

Hereafter, the foregoing shall be referred to collectively as the “Potential Harm.”

3.       Purported Public Interest being protected by UTAustin’s Draconian
         Disciplinary Dragnet.

         32.       Based upon information and belief, the purported public interest

(“Public Interest”) being advanced and protected by Defendant UT Austin through


PLAINTIFFS’ ORIGINAL COMPLAINT                                                        15
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 16 of 34




Defendant UTAustin’s use of the Draconian Disciplinary Dragnet is to protect the

integrity of degrees granted by Defendant UTAustin.

         33.       When reviewing, however, the Potential Harm to the Targeted Student,

Defendant UTAustin’s Educational Process View is untenable, for the Draconian

Disciplinary Dragnet is arbitrary and not reasonably related to Defendant

UTAustin’s Purported Public Interest.

         34.       Further, the Potential Harm to the Targeted Student does not support

the limitations and failures of Defendant UTAustin’s Draconian Disciplinary

Dragnet, and, the need to avoid the Potential Harm to be suffered by the Targeted

Student far outweighs the manner in which Defendant UTAustin has elected to

protect the stated Public Interest.

4.       Plaintiffs Jon each become a Targeted Student.

         35.       In the Fall of 2018, after becoming “pledges” in Fraternity A, Plaintiffs

Jon were accused of participating in certain Fraternity A directed actions, which in

no manner whatsoever harmed any other student or person at Defendant UTAustin,

or anywhere else (hereafter, “Fraternity A Directed Actions”).

         36.       The Fraternity A Directed Actions solely required certain actions by

Plaintiffs Jon, which were directed only at Plaintiffs Jon.


                                                                                         16
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 17 of 34




         37.       Following the playbook of Defendant UTAustin’s Draconian

Disciplinary Dragnet, Plaintiffs Jon was summoned to a meeting with the Dean of

Students (hereafter “DS Meeting”) which had heard rumors that Jon’s participation

in the Fraternity A Directed Actions had somehow violated the Protocols of

Defendant UT Austin.

         38.       Plaintiffs Jon were denied the right to attorney participation in the DS

Meeting.

         39.       The allegations and arguments made by Defendant UTAustin during

the DS Meeting:

                   (a)   were confusing;

                   (b)   included the Dean of Student’s own unsupported
                         assumptions and conclusions as to the Fraternity A
                         Directed Actions;

                   (c)   ignored the fact that Plaintiffs Jon was being coerced and
                         under the duress of Fraternity A;

                   (d)   assumed that Plaintiffs Jon was obviously guilty of
                         something, because Jon was a Targeted Student; and

                   (e)   were clearly conclusory.

         40.       After the foregoing interrogation by the Dean of Students but still

during the short DS Meeting, the Dean of Students informed Plaintiffs Jon that Jon

PLAINTIFFS’ ORIGINAL COMPLAINT                                                          17
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 18 of 34




was found guilty of the violating the Protocols of Defendant UTAustin, proven by a

preponderance of the evidence and would be sanctioned by (a) being placed on

disciplinary probation, and (c) being required to participate in a Virtual Academic

Integrity module tutorial (hereafter, the “University Decision”).

         41.       Throughout the numerous steps of the Defendant UTAustin’s

Draconian Disciplinary Dragnet, representatives of Defendant UTAustin, including

the president of Defendant UTAustin, throw around the phrase “preponderance of

the evidence” without any meaningful understanding or policy as to what the true

meaning of such phrase is. In doing so, Defendant UTAustin is purposely

misleading each Targeted Student into believing that some sort of judicial process is

being followed, which is wholly false.

         42.       Notwithstanding the permanent harm ensuring from being placed on

disciplinary probation, Plaintiffs Jon were denied any appeal, including being

denied the right to a Hearing before a Committee, with an appeal to the president of

Defendant UTAustin.

         43.       As a result, the University Decision made by the Dean of Students was,

in effect, the “Final Decision” and Plaintiffs Jon’s reputation and collegiate record

have been improperly blemished.


                                                                                      18
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 19 of 34




5.       UTAustin’s Draconian Disciplinary Dragnet illegally violated Plaintiffs
         Jon’s Rights.

         44.       The issuance of the Final Decision including the issued Sanctions,

resulting from Defendant UTAustin’s Draconian Disciplinary Dragnet is arbitrary

and not reasonably related to Defendant UTAustin’s Purported Public Interest with

regards to Plaintiffs Jon.

         45.       Further, the Sanctions imposed upon Plaintiffs Jon were not

appropriate to the alleged wrong committed by Plaintiffs Jon, for such Sanctions are

ongoing, for the rest of Plaintiffs’ Jon’s lives and impact Jon’s Property Interest

(defined hereafter).

         46.       With the issuance of the Final Decision, the imposition of Defendant

UTAustin’s Draconian Disciplinary Dragnet upon Plaintiffs Jon (including but not

being limited to the Denial of Legal Counsel) were complete and suffered the

Sanctions in violation of Jon’s:

                   (a)   rights granted and protected by Title IX;

                   (b)   substantive and procedural rights and guarantees of equal
                         protection created by the Constitution of the United
                         States; and




PLAINTIFFS’ ORIGINAL COMPLAINT                                                       19
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 20 of 34




                   (c)   substantive and procedural rights and guarantees of equal
                         protection created by the Constitution of the State of
                         Texas.

For the purposes hereof, the foregoing violations shall be collectively referred to as

the “UTAustin’s Discriminatory Actions” committed by Defendant UTAustin.

6.       Plaintiffs Jon have been seriously harmed by UTAustin’s Discriminatory
         Actions.

         47.       As a direct result of the Defendant UTAustin’s Discriminatory Actions

against Plaintiffs Jon, the Potential Harm has become a reality for Jon.

         48.       Upon information and belief, Defendant UTAustin’s Discriminatory

Actions constitute disparate treatment of males (including Plaintiffs Jon) and has

had a disparate impact on male students (including Plaintiffs Jon), in violation of

Title IX.

         49.       Such disparity between the treatment of other female students of the

general population versus a male, Targeted Student, based on information and

belief, is also exhibited by the excessively high percentage of a male, Targeted

Student then being sanctioned by Defendant UTAustin. With such high

percentages, the presumption of innocence obviously plays no part of the

UTAustin’s Draconian Disciplinary Dragnet.



                                                                                     20
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 21 of 34




         50.       Further, blatant disparity exists between female students participating

in sorority directed actions, as opposed to male students participating in fraternity

directed actions, with the male students being sanctioned far more often and with

greater severity.

         51.       As a direct result of Defendant UTAustin’s Discriminatory Actions

against Plaintiffs Jon, Jon has also suffered physical, emotional, and economic harm

as a result of Defendant UTAustin’s Discriminatory Actions, and, shall suffer future

physical, emotional, and economic harm, including actual and consequential

damages.

         52.       As a direct result of the Defendant UTAustin’s Discriminatory Actions

against Plaintiffs Jon, Jon’s mental health has deteriorated and is likely to continue

to deteriorate.

         53.       As a direct result of the Defendant UTAustin’s Discriminatory Actions

against Plaintiffs Jon, Jon is also likely to be denied access to advance classes and

programs offered by Defendant UTAustin, resulting in harm to Jon’s right to pursue

such classes and programs, as well as harming him economically in the future

(collectively hereafter, “Property Interests”) as previously discussed in the Potential

Harm which is now a reality for Jon.

PLAINTIFFS’ ORIGINAL COMPLAINT                                                         21
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 22 of 34




         54.       Defendant UTAustin’s Discriminatory Actions as to Plaintiffs Jon

were committed intentionally and in bad faith, or with reckless disregard for the

outcome, constituting a conscious indifference by Defendant UTAustin.

7.       Defendant UTAustin’s Action Under the Color of State Law.

         55.       The    administrators    participating    in   Defendant     UTAustin’s

Discriminatory Actions, including but not being limited to representatives of the

Dean of Students, are the individuals charged with the responsibility of

implementing the Protocols, which were established by the policy makers of

Defendant UTAustin and were implementing the policies and customs (the

Protocols) of Defendant UTAustin when committing the Discriminatory Actions.

         56.       Further, if any portion of such policies are not, in fact written, each of

the administrators participating in Defendant UTAustin’s Discriminatory Actions,

were implementing the policies and customs of Defendant UTAustin in accord with

the customs and practices of Defendant UTAustin.

         57.       Additional   insight into    the   university wide      acceptance    and

implementation of the Defendant UTAustin’s policies and customs being at the core

of Defendant UTAustin’s Draconian Disciplinary Dragnet is provided by the

following two events occurring in recent matters unrelated to Plaintiffs Jon:


                                                                                          22
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                   Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 23 of 34




                  (a)     In December 2018, a United States Congressman (from
                          the State of Texas) contacted the Washington D.C. office
                          of Defendant UTAustin to obtain more information
                          related to one of his constituents (being a student at
                          Defendant UTAustin) having been sanctioned as a result
                          of the Draconian Disciplinary Dragnet. In no uncertain
                          terms, a vice chancellor of Defendant UTAustin
                          informed the Congressman, paraphrasing, that
                          Defendant UTAustin would not be responding to the
                          Congressman’s inquiry, would not look into any
                          purported disciplinary matter, and would not even return
                          any future calls or further inquiries from the
                          Congressman related to disciplinary matters of Defendant
                          UTAustin’s students; and

                  (b)     In a separate matter occurring this month, an attorney
                          representing a separated Targeted Student, raised certain
                          jurisdictional issues related to the Draconian Disciplinary
                          Dragnet and was informed, paraphrasing, there might
                          not be a written policy giving us (Defendant UTAustin)
                          jurisdiction over the Targeted Student, but that is how we
                          choose to proceed.

8.       Administrative Remedies.

         58.        There are no administrative remedy preconditions (“Preconditions”)

required prior to seeking relief under the laws being invoked herein by Plaintiffs

Jon. Even if such Preconditions did exist, the actions of Defendant UTAustin have

shown that such efforts would be futile or are otherwise moot.




PLAINTIFFS’ ORIGINAL COMPLAINT                                                          23
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 24 of 34




9. Collective Action Allegations

         59.       Plaintiff Jon is but one of the many past and present students who have

suffered, and are still suffering, under the Defendants’ Reign of Terror. As such,

Jon is representative of the Class of Members.

         60.       Pursuit of this lawsuit on behalf of the Plaintiff and the Class Members

is appropriate under Rule 42 of the Texas Rules of Civil Procedure because:

                   a)            the size of the Class of Members is so numerous
                        that joinder of all members as individual plaintiffs is
                        impracticable;

                   b)           there are questions of law or fact common to each
                        member of the Class of Members;

                   c)             the claims or defenses of the representative
                        parties are typical of the claims or defenses of the Class of
                        Members; and

                   d)             the representative party will fairly and adequately
                        protect the interests of the Class of Members.

         61.       Further, this action may be maintained as a class action because:

                          (a) the prosecution of separate actions by or against
                   individual members of the Class of Members would create a
                   risk of:
                                 (i)    inconsistent or varying adjudications
                           with respect to individual members of the Class of
                           Members which would establish incompatible
                           standards of conduct as to the Defendants;
                                                                                         24
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 25 of 34




                               (ii) adjudications    with     respect     to
                         individual members of the Class of Members
                         which would as a practical matter be dispositive of
                         the interests of the other members of the Class
                         Members not parties to the adjudications or
                         substantially impair or impede their ability to
                         protect their interests;

                                (iii) Defendants have acted or refused to
                          act on grounds generally applicable to the Class of
                          Members, thereby making appropriate final
                          injunctive relief or corresponding declaratory
                          relief with respect to the Class of Members as a
                          whole; or

                                (iv) the questions of law or fact common
                         to the members of the Class of Members
                         predominate over any questions affecting only
                         individual members, and a class action is superior
                         to other available methods for the fair and
                         efficient adjudication of the controversy. The
                         matters pertinent to these issues include:
                                     (aa) the interest of members of the
                               Class of Members in individually
                               controlling the prosecution or defense of
                               separate actions;

                                       (bb) the extent and nature of any
                               litigation concerning the controversy already


PLAINTIFFS’ ORIGINAL COMPLAINT                                                  25
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 26 of 34




                                commenced by or against members of the
                                Class of Members;
                                       (cc) the desirability or undesirability
                                of concentrating the litigation of the claims
                                in the particular forum; and
                                      (dd) the difficulties likely to be
                                encountered in the management of a class
                                action.
         61.       As a result of Defendant UTAustin’s Discriminatory Actions

committed against Plaintiffs Jon, Jon was required to engage legal counsel to

protect Jon’s rights and redress the harm Jon has suffered.

         62.       All conditions precedent to Plaintiffs Jon bringing these claims have

been met.

                         E. PLAINTIFFS’ CAUSES OF ACTION

         63.       Plaintiffs Jon incorporates by reference the facts set forth in foregoing

ARTICLE D: GENERAL BACKGROUND hereof.

                          COUNT TWO: TITLE IX VIOLATIONS

         64.       As a university owned and operated by the State of Texas that

receives grants and other funding from the United States, Defendant UTAustin falls

under the jurisdiction and requirements of Title IX.




                                                                                         26
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 27 of 34




         65.       Defendant UTAustin’s Discriminatory Actions against Plaintiffs Jon

are so severe, pervasive, and objectively offensive that Plaintiffs Jon has been

deprived access to educational opportunities and benefits provided by Defendant

UTAustin in violation of Title IX.

         66.       Defendant UTAustin’s Discriminatory Actions against Plaintiffs Jon

failed to protect Plaintiffs Jon from improper Sanctions in violation of Title IX.

         67.       Defendant UTAustin’s Discriminatory Actions as to Plaintiffs Jon

constitute disparate treatment of males (including Plaintiffs Jon) and has had a

disparate impact on male students (including Plaintiffs Jon) in violation of Title

IX.

       68.         Defendant UTAustin’s discriminatory conduct toward Plaintiffs Jon,

in violation of Title IX have caused Plaintiffs Jon to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiffs Jon now sue in accord with Title IX.

         69.       Defendant UTAustin’s Discriminatory Actions against Plaintiffs Jon

in violation of Title IX have caused Plaintiffs Jon to suffer mental and emotional

distress and damages, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiffs Jon now sues in accord with Title IX.

PLAINTIFFS’ ORIGINAL COMPLAINT                                                       27
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 28 of 34




                         COUNT TWO: SECTION 1983 VIOLATIONS

         70.       Defendant UTAustin’s implementation of the Draconian Disciplinary

Dragnet, the Final Decision, the Discriminatory Actions committed against

Plaintiffs Jon as well as Defendant UTAustin’s Educational Process View are not

warranted denials of Jon’s rights, sufficient to support the Public Interest

purportedly being protected.

         71.       Section 1983 of Title 42 of the United States Code provides, in part,:

                          “Every person who under color of any statute,
                          ordinance, regulation, custom, or usage, of any
                          State…subjects, or causes to be subjected, and citizen
                          of the United States…to the deprivation of any rights,
                          privileges, or immunities secured by the Constitution
                          and laws, shall be liable to the part injured in an
                          action at law, suit in equity, or other proper
                          proceeding for redress…”

         72.       Defendant UTAustin’s Discriminatory Actions were committed against

Plaintiffs Jon under the color of law and resulted in the violation of Plaintiffs Jon’s

rights under the United States Constitution and other federal laws.

         73.       Specifically, Defendant UTAustin’s Discriminatory Actions were

committed under the color of law and resulted in the violation of Plaintiffs Jon’s

rights under:

                   (a)    Title IX;

                                                                                            28
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 29 of 34




                   (b)   the procedural due process requirements of the United
                         States Constitution as set forth in the Fourteenth
                         Amendment, in violation of Jon’s Property Rights;

                   (c)   the substantive due process requirements of the United
                         States Constitution set forth in the Fourteenth
                         Amendment in violation of Jon’s Property Rights; and

                   (d)   the equal protection requirements of the United States
                         Constitution set forth in the Fourteenth Amendment in
                         violation of Jon’s Property Rights.

         74.        Defendant UTAustin’s discriminatory conduct toward Plaintiffs

Jon, in violation of Section 1983 have caused Plaintiffs Jon to suffer a loss of

benefits and created economic losses, including all actual, consequential,

continuing, and future compensatory damages, for which Plaintiffs Jon now sue

in accord with Section 1983.

         75.       Defendant UTAustin’s Discriminatory Actions against Plaintiffs Jon

in violation of Section 1983 have caused Plaintiffs Jon to suffer mental and

emotional distress and damages, including all actual, consequential, continuing,

and future compensatory damages, for which Plaintiffs Jon now sue in accord with

Section 1983.

         76.       Plaintiffs Jon also seek equitable relief to which Plaintiffs Jon is

entitled by Section 1983, including but not being limited to:

PLAINTIFFS’ ORIGINAL COMPLAINT                                                       29
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 30 of 34




                   (a)   requiring Defendant UTAustin to strike all negative
                         information, emails, evaluations, and materials as to
                         Plaintiffs Jon relating to the foregoing actions and
                         sanctions from the records of Defendant UTAustin; and

                   (c)   the removal from all of Plaintiffs Jon’s records at
                         Defendant UTAustin that Plaintiffs Jon were (i) ever the
                         subject of any disciplinary matter while attending
                         Defendant UTAustin, and (ii) ever placed on Disciplinary
                         Probation.

      COUNT THREE: VIOLATIONS OF THE TEXAS CONSTITUTION

         77.       As a university owned and operated by the State of Texas, Defendant

UTAustin’s action are also subject to scrutiny of protections created by the Texas

Constitution.

         78.       Defendant UTAustin’s Discriminatory Actions against Plaintiffs Jon

were committed under the color of law and resulted in the violation of Plaintiffs

Jon’s rights under the Constitution of the State of Texas.

         79.       Specifically, Defendant UTAustin’s Discriminatory Actions committed

towards Jon were committed under the color of law and resulted in the violation of

Plaintiffs Jon’s rights under:

                   (a)   the procedural due process requirements of the Texas
                         Constitution found in Article 1, Section 19;

                   (b)   the substantive due process requirements of the Texas
                         Constitution found in Article 1, Section 19; and

                                                                                    30
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 31 of 34




                   (c)   the equal protection requirements of the Texas
                         Constitution found in Article I, Section 3.

Hereafter, the foregoing shall be collectively referred to as “Violations of the Texas

Constitution.”

         80.       Defendant UTAustin’s Violations of the Texas Constitution as to

Plaintiffs Jon have caused Plaintiffs Jon to suffer a loss of benefits and created

economic losses.

         81.       Defendant UTAustin’s Violations of the Texas Constitution as to

Plaintiffs Jon have caused Plaintiffs Jon to suffer mental and emotional distress

and damages.

         82.       Although Plaintiffs Jon, as private parties living in the State of Texas,

have no standing to seek monetary damages for the Defendant UTAustin’s

Violations of the Texas Constitution as to Plaintiffs Jon, Plaintiffs Jon do seek the

equitable relief to which Plaintiffs Jon is entitled by Texas jurisprudence,

including but not being limited to:

                   (a)   requiring Defendant UTAustin to strike all negative
                         information, emails, evaluations, and materials as to
                         Plaintiffs Jon relating to the foregoing actions and
                         sanctions from the records of Defendant UTAustin; and



PLAINTIFFS’ ORIGINAL COMPLAINT                                                            31
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 32 of 34




                   (c)    the removal from all of Plaintiffs Jon’s records at
                          Defendant UTAustin that Plaintiffs Jon were (i) ever the
                          subject of any disciplinary matter while attending
                          Defendant UTAustin, and (ii) ever placed on Disciplinary
                          Probation.

                           COUNT FOUR: PUNITIVE DAMAGES

         83.       Defendant UT Austin’s Discriminatory Actions against Plaintiffs Jon

in violation of Title IX were intentional and willful, or at a minimum, were

committed with a lack of regard for, or with reckless indifference, constituting a

conscious indifference toward Plaintiffs Jon’s federally protected rights, thereby

entitling Plaintiffs Jon to punitive damages pursuant to Title IX, for which Plaintiffs

Jon now seeks in an amount of $ 1,000,000.00.

         84.       Defendant UT Austin’s Discriminatory Actions against Plaintiffs Jon

in violation of Section 1983 were intentional and willful, or at a minimum, were

committed with a lack of regard for, or with reckless indifference constituting a

conscious indifference toward Plaintiffs Jon’s federally protected rights, thereby

entitling Plaintiffs Jon to punitive damages pursuant to Section 1983, for which

Plaintiffs Jon now seeks in an amount of $ 1,000,000.00.

                         COUNT FIVE: POST JUDGMENT INTEREST

         85.       Plaintiffs Jon also requests post judgment interest as may be allowed

by applicable law.
                                                                                     32
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 33 of 34




                           COUNT EIGHT: ATTORNEYS’ FEES

         86.       Plaintiffs Jon should be awarded their reasonable and necessary

attorneys’ fees incurred in relation to the foregoing as allowed by applicable law.

                                F.   REQUEST FOR JURY

         87.       Plaintiffs Jon hereby request that a jury be empaneled, and, that the

foregoing causes of actions and requests for relief be presented to such jury for

resolution.

                                G . PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs JON1 UTAUS-BB DOE, JON2 UTAUS-SK DOE,

JON3 UTAUS-KS DOE, and JON4 UTAUS-SA DOE pray the necessary summons

be issued, that the Class of Members be certified; that upon final trial hereof, that

judgment be entered in favor of Plaintiffs Jon for the actual, consequential, and

punitive damages set forth herein including post judgment interest; that Plaintiffs

Jon be reimbursed their reasonable and necessary attorneys’ fees required to bring

this matter; that all costs of Court be taxed against Defendant; that Plaintiffs Jon be

granted the equitable relief be granted; and that Plaintiffs Jon have such further and

other relief, general and special, both at law or in equity, to which she may show

himself to be justly entitled.

PLAINTIFFS’ ORIGINAL COMPLAINT                                                        33
Glaw 2019.04.09
                  Case 1:19-cv-00398 Document 1 Filed 04/09/19 Page 34 of 34




         Respectfully submitted,

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                                                                                   34
PLAINTIFFS’ ORIGINAL COMPLAINT
Glaw 2019.04.09
